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uNlTED sTATEs oi= AMER\cA 'w§) OF' iii unions
Plaintiff
vs.
cR. No. 05-20232-0
JANET oRiFFlN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|F‘(|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
regort date of Thursday, September 22, 2005l at 9:00 a.m., in Courtroorn 3. 9th Floor
of the Federa| Bui|ding, Memphis, TN.

The period from July 21, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED this §§ day of Ju|y, 2005.

 
    

B RNlCE B. ONALD
N|TED STATES D|STRICT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20232 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

